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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                McALLEN DIVISION

 GABRIEL MIRANDA, SR. and                §
 MARIA FUENTES, Individually             §
 and as Representatives of the Estate    §
 of GABRIEL MIRANDA, JR.,                §
                                         §
        Plaintiffs,                      §
                                         §
 V.                                      § C.A. No. 7:18-cv-00353
                                         §
 NAVISTAR, INC., NAVISTAR                §
 INTERNATIONAL                           §
 CORPORATION, IC BUS, LLC,               §
 and IC BUS OF OKLAHOMA,                 §
 LLC,                                    §
                                         §
        Defendants.                      §

        PLAINTIFFS’ OPPOSITION RESPONSE TO DEFENDANTS’
                       MOTION TO COMPEL

       Under Fed. R. Civ. P. 26(b), Plaintiffs file their Opposition Response to

Defendants’ Motion to Compel additional discovery to search deceased Gabriel

Miranda, Jr.’s personal and private google account and for Call Data Records

(“CDRs”) of his cell phone. Defendants’ Motion should be denied because the

information sought is not relevant and not proportionate to the needs of the case.

I.     BACKGROUND

       This is a product liability automotive design defect case involving a 2011 IC

school bus designed and manufactured by Defendants. On November 14, 2016, the



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subject bus was carrying middle-school students to a field trip. A little over an hour

into the bus ride, 13-year old eighth-grader Gabriel Miranda, Jr. (“Gabriel, Jr.”)

opened the rear emergency door and fell to his death onto Interstate Highway 69C

in Edinburg, Texas.

       Although safety technology was available at the time of manufacture, the

subject 2011 IC school bus featured a rear emergency exit door that was unlocked

(and unlockable) even while the bus was traveling at highway speed and there

could be no emergency to open the rear “emergency exit” door.

       Plaintiffs assert on the occasion in question, if the rear emergency exit door

had been locked, Gabriel Miranda, Jr. would not have been able to open that door.

To prevail, Plaintiffs must show that the design defect was a producing cause of

Gabriel, Jr.’s death.1 Defendants counter Plaintiffs’ claim with a suicide defense

theory. In essence, Defendants assert that no matter what safety technology had

been installed, a locked rear emergency exit door would not have prevented

Gabriel, Jr.’s death on the occasion in question because he wanted to kill himself.

But Plaintiffs say he could not have opened an “emergency exit” door with the bus

in motion had it not been defectively designed.




1
 Tex. Civ. Prac. & Rem. Code § 82.005(a)(2) (“the defect was a producing cause of the
personal injury, property damage, or death for which the claimant seeks recovery.”).



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         Erron Fox, a driver traveling behind the bus, sheds light that Gabriel, Jr.

tried to close the emergency exit door after it was opened:

         “I saw a school bus in front of me and I saw a boy standing by the back
         emergency door and the door was still closed. The emergency back
         door then opened wide on the school bus that was from Harlingen ISD.
         I then saw a little boy attempt to reach out and close the door. As
         he was attempting to close the door, I saw him fall out off the bus. As
         he rolled over backwards, I saw him bang the back of his head on the
         roadway as both his arms were above his head almost as if he was
         covering his head from impact.”2 (emphasis added).

         Additionally, there are 40 affidavits of the students in the bus from the

Edinburg police report3 and 131 pages of screen shots, made by the Edinburg

police during their investigation, of text messages between Gabriel, Jr. and his ex-

girlfriend Emily.

         Nevertheless, Defendants requested from Plaintiffs records showing phones

calls to and from Gabriel, Jr.’s cell phone and requested to inspect Gabriel, Jr.’s

cell phone. Plaintiffs complied.

         On June 28, 2019, Plaintiffs produced itemized cell phone records for

Gabriel, Jr. from August to December 2016,4 which showed specific phone

numbers of each incoming and outgoing call and the duration of each call.



2
    Erron Fox Affidavit and Handwritten Statement, Exhibit A, PL Bates 12, 114-117.
3
    Edinburg Police Report - Student Seating Chart, Exhibit B, PL Bates 276.
4
    Gabriel, Jr.’s cell phone records, Exhibit C, PL Bates 500, 516, 517, 534.



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         On September 24, 2019, Plaintiffs allowed Defendants’ expert Scott Greene

unfettered access to Gabriel, Jr.’s cell phone. Numerous text conversations with

friends and family were retrieved, along with photos and images. Defendant was

then able to compare the Edinburg police’s 131 pages of screen shots of texts

between Gabriel, Jr. and his ex-girlfriend Emily with what Greene downloaded off

the cell phone to see if there were any deleted text messages.

         Apparently, Defendants found nothing useful to support their suicide theory

or that anything had been deleted after Gabriel, Jr.’s death. Still empty-handed and

without any hint of spoliation, Defendants now want to further their speculative

fishing expedition into Gabriel, Jr.’s personal and private google account and Call

Data Records (“CDRs”).5 Defendants have yet to attempt any other discovery

efforts to show Gabriel, Jr. was suicidal at the time he opened the rear emergency

exit door. There is no evidence of any prior attempt of suicide by Gabriel, Jr.

II.      STANDARD FOR DISCOVERY

         Fed. R. Civ. P. 26(b)(1) states:

         “Scope in General. Unless otherwise limited by court order, the scope
         of discovery is as follows: Parties may obtain discovery regarding any
         nonprivileged matter that is relevant to any party’s claim or defense
         and proportional to the needs of the case, considering the importance
         of the issues at stake in the action, the amount in controversy, the
         parties’ relative access to relevant information, the parties’ resources,
         the importance of the discovery in resolving the issues, and whether

5
    See Defendants’ Motion, at 3 (referring to Scott Greene’s affidavit, paragraphs 15, 16, 18, 19).



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         the burden or expense of the proposed discovery outweighs its likely
         benefit.”6 (emphasis added).

         However, “Rule 26(b) has never been a license to engage in an unwieldy,

burdensome, and speculative fishing expedition.”7 Below, Plaintiffs will show that

Defendants’ desired scope of discovery for Call Data Records (“CDRs”) from

Gabriel, Jr.’s cell phone and access to his google account is not relevant and “fails

the proportionality calculation mandated by Rule 26(b).”8

III.      ARGUMENT AND AUTHORITIES

          To prevail on their Motion to Compel, Defendants must show many or all of

the proportionality factors under Rule 26(b)(1) and must certify under Rule

26(g)(1)(B)(iii) that their request is “neither unreasonable nor unduly burdensome

or expensive, considering … prior discovery in the case…”9 Defendants have not

and cannot satisfy these requirements.

          A.     Suicide Is Not Relevant To Any Affirmative Defense.

          Defendants assert two affirmative defenses: (1) assumption of the risk and

(2) contributory negligence. Neither assumption of the risk nor contributory


6
    Fed. R. Civ. P. 26(b)(1).
7
 Crosby v. Louisiana Health Serv. & Indem. Co., 647 F.3d 258, 264 (5th Cir. 2011) (quotation
omitted).
8
    Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 580 (N.D. Tex. 2016).
9
  Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 580 (N.D. Tex. 2016) (citations omitted)
(emphasis added).


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negligence is a valid defense in this product defect case. Under the facts of this

case, suicide is not probative to a contributory negligence defense.

         First, Tex. Civ. Prac. & Rem. Code § 93.001, Assumption of the Risk:

Affirmative Defense, states:

         “(a) It is an affirmative defense to a civil action for damages for
         personal injury or death that the plaintiff, at the time the cause of action
         arose, was: … (2) committing or attempting to commit suicide, and the
         plaintiff’s conduct in committing or attempting to commit suicide was
         the sole cause of the damages sustained; provided, however, if the
         suicide or attempted suicide was caused in whole or in part by a
         failure on the part of any defendant to comply with an applicable
         legal standard, then such suicide or attempted suicide shall not be
         a defense.”10 (emphasis added).

         Assumption of the risk is not a defense in this case. Here, Plaintiffs assert on

the occasion in question, if the rear emergency exit door had been locked, Gabriel

Miranda, Jr. would not have been able to open that door. Under Tex. Civ. Prac. &

Rem. Code § 93.001(a)(2), Defendants cannot assert an assumption of the risk

defense because Gabriel, Jr.’s death was caused in whole or part by Defendants’

defectively designed unlocked rear “emergency” exit door that could be opened,

and was opened, while the bus was under normal operation, moving at highway

speed. As designed, the subject bus was defective and unreasonably dangerous. A




10
     Tex. Civ. Prac. & Rem. Code § 93.001.



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strict liability legal standard is violated; and suicide would not be relevant because

assumption of the risk is not a defense.

         Second, suicide would not be probative in a product liability case when a

misuse is foreseeable.11 Unquestionably an unlocked door can be opened by a

passenger while a bus is traveling. There is no dispute in this case that Gabriel, Jr.

opened the emergency exit door while the bus was traveling normally on the

highway. Here, Defendants designed the rear emergency exit door to remain

unlocked while the bus was moving with no reason to open this “emergency exit”

door. “The door [was] designed to be quickly released.”12 But there was no

warning that the emergency exit door would remain unlocked while the bus was

moving. Evidence from Erron Fox, a driver traveling behind the bus, shows that

Gabriel, Jr. tried to close the opened door but instead fell out of the bus.13

         The liability issue of a safer alternative design turns on whether a locked rear

“emergency exit” door would have prevented Gabriel Miranda, Jr.’s death on the

highway. There was no reason for that emergency exit door to be unlocked and



11
  See Coleman v. Cintas Sales Corp., 40 S.W.3d 544, 550-51 (Tex. App.—san Antonio 2001,
pet. denied) (“A manufacturer may be held liable for foreseeable misuse of its product. Where a
produce is not defected if used as intended, a foreseeable misuse may still give rise to a duty to
warn”) (citations omitted).
12
  Defendants’ Sales Data Sheet, Rear Emergency Door and Accessories, Exhibit D, Bates Nav
82.
13
     Erron Fox Affidavit and Handwritten Statement, Exhibit A, PL Bates 12, 114-117.



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capable of being opened while the bus is moving on the highway and operating

under normal conditions. There is no issue about a locked door being unlocked and

then opened for a mindset of suicide to be possibly relevant. There was no warning

of the unlocked emergency door. Gabriel, Jr.’s “negligent failure to discover or

guard against a product defect [unlocked door] is not a defense against strict

products liability.”14 Therefore, Defendants further inquiry into suicide is not

relevant to contributory negligence and contributory negligence is no defense for

opening an unlocked “emergency exit” door when there was no emergency and

Defendants gave no warning. Allowing Defendants to present suicide to the jury

when this issue is not relevant to this product defect claim would only confuse the

issues, inflame the jury, and unfairly prejudice Plaintiffs.

       B.     Defendants’ Invasion Of Privacy Is Not Proportional To The
              Needs Of This Case Because More Reasonable And Less
              Tangential Discovery Is Available To Defendants.

       Even if a suicide were hypothetically relevant, which it is not as explained

above, Defendants must also satisfy the second requirement of proportionality

under Rule 26(b)(1). But Defendants’ desired inquiry is not proportional to the

needs of the case. First, Defendants assert on page 4 of their Motion they wish to

find key witnesses through searching Gabriel, Jr’s google account. Defendants



14
  Ramsey Ramsey v. Lucky Stores, Inc., 853 S.W.2d 623, 634 (Tex. App.—Houston [1st Dist.]
1993, writ denied) (citations omitted).


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already know who the people Gabriel, Jr. interacted with most frequently prior to

his death. Key-witness information is already found (1) in the 40 affidavits of the

students on the bus made by the Edinburg police during their investigation,15 which

Plaintiffs already produced on June 6, 2019, (2) in the cell phone records, which

Plaintiffs produced on June 28, 2019,16 (3) in the Edinburg police’s 131 pages of

screen shots of texts between Gabriel, Jr. and his ex-girlfriend Emily, whom he

texted that morning, and (4) in the cell phone Defendants had inspected and

downloaded on September 24, 2019.

          If Defendants have already spoken to these witnesses, then they should

provide the Court with their “information and belief of expected testimony” to

satisfy the proportionate requirement of Rule 26(b) for further inquiry. Defendants

have not first searched for corroborating evidence of a “suicidal state of mind”

from any of the students who were on the bus or his friends or relatives. Without

important discovery from these witnesses first, information about the number of

times someone calls or texts someone else, location of calls or texts, data usage,

and apps used,17 are not probative of a suicide attempt on the occasion in question.



15
     Edinburg Police Report - Student Seating Chart, Exhibit B, PL Bates 276.
16
     Gabriel, Jr.’s cell phone records, Exhibit C, PL Bates 500, 516, 517, 534.
17
  See Defendants’ Motion, at 3 (referring to Scott Greene’s affidavit, paragraphs 15, 16, 18,
19).



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         Second, on page 7 of their Motion, Defendants assert they “do not have all

the information and data necessary to properly evaluate Miranda’s state of mind

and cause of his death.” But Defendants know from the Death Certificate that

cause of death was blunt force head trauma18 onto highway concrete. And

Defendants need to seek this type of information on Gabriel, Jr.’s general

disposition and state of mind from witnesses, not from records showing how much

activity he had on his cell phone.

         Third, rummaging through a google account and CDR information about

Gabriel, Jr.’s amount of phone data usage from the prior day, prior week, prior

month, or prior year from the day of the incident is not probative of what was in

Gabriel, Jr.’s mind at the time the rear emergency door opened. There is no

evidence of any prior attempt of suicide. Rather, Gabriel, Jr.’s activities and

interactions the hours prior to his death are relevant to Defendants’ suicide theory

on the occasion in question. If the recent inquiries show any evidence of suicide,

then Defendants may have a better argument to search tangential information.

         Fourth, disclosure non-parties’ information in a google account or Call Data

Records is not relevant to any issue in this case. Fifth, Defendant have not shown

any spoliation of messages to warrant further inquiry. Therefore, the scope of



18
     Death Certificate, Exhibit E, PL Bates 440.



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Defendants’ further discovery inquiry is not proportional to the needs of this case.

Further inquiry into suicide would not help resolve any issues in this case. Rather

infusing suicide into this product defect case would only help to confuse the issues,

inflame the jury, and unfairly prejudice Plaintiffs.

IV.     CONCLUSION

        For all the above reasons, Defendants have not shown the private and

personal information from non-parties in the google account and cell phone data

usage by Gabriel, Jr. are relevant and proportional to the needs of the case.

        Foremost, the issue of suicide is not relevant to any issue in this case.

Defendants cannot use the assumption of the risk defense in this case. Gabriel, Jr.’s

death was caused by Defendants’ defectively design of an unlockable rear

emergency exit door when there was no emergency while a bus is operating under

normal conditions on a highway.

        Defendants also cannot use the defense of contributory negligence. There

was no warning that the rear “emergency exit” door would remain unlocked when

there was no emergency and the bus was moving at highway speed. Gabriel, Jr.’s

failure to discovery that the rear emergency exit door was unlocked is not a

defense against Plaintiffs’ strict products liability claim. There is no question that

Gabriel, Jr. opened that unlocked door. There is no scenario of a locked door that

was unlocked and opened for suicide to even be relevant.



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      Second, Defendants’ further inquiry into suicide is not proportional to the

discovery needs in this case. Defendants have yet to certify that they have sought

other available discovery to find key witnesses, to show Gabriel, Jr. was suicidal at

the time in question, or to show that anything had been deleted from the cell phone.

Defendant have yet to find any evidence of suicide in the discovery they have

already received or testimonial discovery from the numerous witnesses. If they

have, Defendants should show the Court to justify further inquiry.

      Furthermore, information in Gabriel, Jr.’s google account would not be

relevant to Gabriel, Jr.’s state of mind at the time he opened the unlocked rear

emergency exit door on the school bus. Information in Gabriel, Jr.’s google

account and information from and about non-parties from that account or how

much data was used on his cell phone from Call Data Records would not be

relevant to Gabriel, Jr.’s state of mind at the time he opened the unlocked rear

emergency exit door on the school bus. Defendants have not shown and cannot

show that discovery of the Call Data Records or a google account is proportional to

the needs of the case. Further inquiry into suicide would not help resolve any

issues in this case, but rather would only help to possibly inflame the jury against

Plaintiffs. Plaintiffs have produced sufficient discovery for Defendants to explore

and go to work on their defense theories. Defendants should not be allowed to

further their speculative fishing expedition.



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       WHEREFORE, Plaintiffs request the Court deny Defendants’ Motion to

Compel, and for any other relief to which Plaintiffs are entitled.

                                   Respectfully submitted,

                                   TURLEY LAW FIRM

                                   /s/ T Nguyen
                                   T Nguyen
                                   State Bar No. 24051116
                                   6440 North Central Expressway
                                   1000 Turley Law Center
                                   Dallas, Texas 75206
                                   Telephone No. 214/691-4025
                                   Telecopier No. 214/361-5802
                                   Email: tn@wturley.com; roxanam@wturley.com

                                   Windle Turley
                                   State Bar No. 20304000
                                   Email: win@wturley.com; roxanam@wturley.com

                                   ATTORNEYS FOR PLAINTIFFS
Of Counsel

GORMAN LAW FIRM, PLLC
Terry P. Gorman
State Bar No. 08218200
901 Mopac Expwy S Suite 300
Austin, TX 78746
Telephone No. 512/320-9177
Telecopier No. 512/597-1455
tgorman@school-law.co

                             CERTIFICATE OF SERVICE

        This is to certify that on this 27th day of November 2019, a true and correct copy
of the foregoing document was filed in the CM/ECF filing system in this Court, which
will serve all counsel of record.

                                          /s/ T Nguyen
                                          T Nguyen


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